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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


   UNITED STATES OF AMERICA


   vs.                                              CASE NO. 8:06-CR-464-T-17-TGW


   TULANI JAMES COOPER and
   JERMAINE LENARD MOSS
                                        /

                                             ORDER
          This cause is before the Court on the motions in limine of Tulani James Cooper
   (Docket No. 122 and 123), as adopted by Jermaine Lenard Moss (Docket No. 143) and
   response thereto (Docket No. 150). The Court has reviewed all filings and finds that the
   response of the government (Docket No. 150) is well-taken and it is adopted by reference
   herein. This order confirms the oral order on these motions entered by the Court on June 11,
   2007. Accordingly, it is


          ORDERED that the motions in limine as to Tulani James Cooper (Docket No. 122
   and 123), as adopted by Jermaine Lenard Moss (Docket No. 143), be denied.


          DONE and ORDERED in Chambers, in Tampa, Florida, this 12th day of June, 2007,
   nunc pro tunc to June 11, 2007.
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   cc: All parties and counsel of record




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